Case 0:19-cv-62194-MGC Document 16 Entered on FLSD Docket 12/26/2019 Page 1 of 4



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                          Case No.: 0:19-CV-62194-RKA

  YAZAN SALEH,

         Plaintiff,
  v.

  CHASE BANK USA, N.A.,
        Defendant.
  __________________________________________/
                                            STATEMENT OF CLAIM

         Plaintiff YAZAN SALEH (“Plaintiff”) files this Statement of Claim and states:

         Defendant is a business entity engaged in the business of financial services. Plaintiff is

  the sole subscriber of the cellular telephone number 786-683-2247 (“Plaintiff’s Cellphone”). On

  a date better known by Defendant, Defendant began calling Plaintiff’s Cellphone regarding an

  alleged account Plaintiff had with Defendant on a regular basis. Defendant was calling Plaintiff

  in an attempt to collect a debt.

         On numerous occasions, when Plaintiff answered a call from Defendant, Plaintiff would

  hear either an extended pause before a represented would come on the line, or an automated

  message telling Plaintiff that the call was from Defendant and to please return Defendant’s call at

  a provided number.

         Defendant utilized a combination of hardware and software systems place calls to

  Plaintiff’s Cellphone. The combination of hardware and software systems used by Defendant

  place calls to Plaintiff’s Cellphone meet the statutory definition of an automated telephone

  dialing system (“ATDS”) under the TCPA.

         Prior to June 25, 2019, all calls Defendant made to Plaintiff’s Cellphone were made


                                                                                                                  PAGE | 1 of 4
                                    LAW OFFICES OF JIBRAEL S. HINDI, PLLC
            110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540

                                                     www.JibraelLaw.com
Case 0:19-cv-62194-MGC Document 16 Entered on FLSD Docket 12/26/2019 Page 2 of 4



  without Plaintiff’s prior express consent. On June 25, 2019, in response to the frequency at

  which Defendant was calling Plaintiff’s Cellphone, as well as the intrusive nature of receiving

  telephone calls from Defendant on a nearly daily basis, Plaintiff instructed Defendant to only call

  Plaintiff’s Cellphone on Wednesdays, as any other day was inconvenient. Plaintiff also reiterated

  these instructions to Defendant via a letter which Plaintiff faxed to Defendant.

         Despite Plaintiff’s clear instructions to Defendant on June 25, 2019, Defendant continued

  calling Plaintiff freely and without limitation. Since June 25, 2019, Defendant has called

  Plaintiff’s Cellphone more than fifty (50) times on days other than Wednesday. Subsequent to

  June 25, 2019, Defendant knew or should have known that all calls Defendant was placing to

  Plaintiff’s Cellphone on days other than Wednesday were being made without Plaintiff’s express

  consent. Defendant continues to call Plaintiff’s Cellphone on days other than Wednesday.

                                       COUNT I - VIOLATION OF THE TCPA

         The TCPA prohibits anyone from using an automated telephone dialing system to call a

  cell phone number without the called party's prior express consent. 47 U.S.C. § 227(b)(1)(A)(iii).

  Prior to June 25, 2019, Defendant did not have Plaintiff’s prior express consent to make any of

  the calls Defendant placed to Plaintiff’s Cellphone. Subsequent to June 25, 2019, all calls

  Defendant made to Plaintiff’s Cellphone on any day other than Wednesday were made by

  Defendant without Plaintiff’s express consent. At minimum, after June 25, 2019, all calls

  Defendant made to Plaintiff’s Cellphone, on any day other than Wednesday, were knowing made

  without Plaintiff’s express consent and in violation of the TCPA.

         Defendant calls to Plaintiff’s Cellphone using an ATDS and/or prerecorded or artificial

  voice without Plaintiff’s prior express consent in violation of 47 U.S.C. § 227(b)(1)(A)(iii). As a

  result of Defendant’s unlawful calls to Plaintiff’s Cellphone, Plaintiff suffered harm and injury.


                                                                                                                  PAGE | 2 of 4
                                    LAW OFFICES OF JIBRAEL S. HINDI, PLLC
            110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540

                                                     www.JibraelLaw.com
Case 0:19-cv-62194-MGC Document 16 Entered on FLSD Docket 12/26/2019 Page 3 of 4



                                     COUNT II - VIOLATION OF THE FCCPA

         Defendant is an entity whose conduct must conform to the requirements of Fla. Stat. §

  559.72(7) and Fla. Stat. § 559.72(9). Each of Defendant’s calls to Plaintiff’s Cellphone were in

  an attempt to collect a debt from Plaintiff. The debt which Defendant sought to collect from

  Plaintiff was one which Plaintiff incurred primarily for personal, family, and household

  purposes. Plaintiff explicitly informed Defendant to only call Plaintiff on Wednesdays, as any

  other day was inconvenient; however, despite full-well knowing this, Defendant continued to call

  Plaintiff’s Cellphone on days other than Wednesday. Defendant knew that by calling Plaintiff’s

  Cellphone after Plaintiff explicitly asked Defendant to only call Plaintiff on Wednesdays

  Defendant could reasonably expected to be harassing Plaintiff. As such, Defendant has violated

  Florida Statute §559.72(7) by willfully communicating with Plaintiff in such frequency as can

  reasonably be expected to harass Plaintiff.

         Defendant has violated Florida Statute §559.72(9) by attempting to collect a debt from

  Plaintiff by and through telephone calls which violate the TCPA as set forth in Count I.

  Defendant knew or should have known that it (Defendant) did not have Plaintiff’s consent to call

  Plaintiff in an attempt to collect a debt on any day other than Wednesdays. As such, by and

  through each unlawful call Defendant made to Plaintiff’s Cellphone, Defendant was attempting

  to collect a debt from Plaintiff which Defendant knew it did not have the authority to attempt

  collect from Plaintiff.



                               [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                                                                                                  PAGE | 3 of 4
                                    LAW OFFICES OF JIBRAEL S. HINDI, PLLC
            110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540

                                                     www.JibraelLaw.com
Case 0:19-cv-62194-MGC Document 16 Entered on FLSD Docket 12/26/2019 Page 4 of 4



         Dated: December 26, 2019

                                                               Respectfully Submitted,

                                                                /s/ Jibrael S. Hindi                                    .
                                                               JIBRAEL S. HINDI, ESQ.
                                                               Florida Bar No.: 118259
                                                               E-mail:      jibrael@jibraellaw.com
                                                               The Law Offices of Jibrael S. Hindi
                                                               110 SE 6th Street, Suite 1744
                                                               Fort Lauderdale, Florida 33301
                                                               Phone:       954-907-1136
                                                               Fax:         855-529-9540


                                        CERTIFICATE OF SERVICE

         The undersigned certifies that on December 26, 2019, the forgoing was electronically via

  the Court’s CM/ECF system on all counsel of record.

                                                                      /s/ Jibrael S. Hindi                              ____
                                                               .
                                                                    JIBRAEL S. HINDI, ESQ.
                                                                    Florida Bar No.: 118259




                                                                                                                 PAGE | 4 of 4
                                   LAW OFFICES OF JIBRAEL S. HINDI, PLLC
           110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540

                                                    www.JibraelLaw.com
